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                                                                                 United States District Court
                                                                                   Southern District of Texas

                                                                                      ENTERED
                      IN THE UNITED STATES DISTRICT COURT                            March 17, 2022
                      FOR THE SOUTHERN DISTRICT OF TEXAS                           Nathan Ochsner, Clerk
                                HOUSTON DIVISION

JACKIE NGUYEN,                                 §
                                               §
                      Plaintiff,               §
                                               §
v.                                             §           CIVIL ACTION NO. H-22-00209
                                               §
INSPECTIONS NOW, INC., FLOOR AND               §
DECOR OUTLETS OF AMERICA, INC.,                §
AND JASON POST HOMES, LLC,                     §
                                               §
                      Defendants.              §

                                           ORDER

       For the reasons stated in the accompanying Memorandum and Opinion, this case is

remanded to the 434th Judicial District Court of Fort Bend County, Texas.

              SIGNED on March 17, 2022, at Houston, Texas.



                                                   ___________________________________
                                                               Lee H. Rosenthal
                                                        Chief United States District Judge
